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                                Exhibit A

                             Proposed Order




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    OFF LEASE ONLY LLC, et al.,1                                      )   Case No. 23-11388 (CTG)
                                                                      )
                                Debtors.                              )   (Joint Administration Requested)
                                                                      )
                                                                      )   Re: Docket No. __

                   ORDER AUTHORIZING RETENTION AND
         APPOINTMENT OF STRETTO, INC. AS CLAIMS AND NOTICING AGENT

             Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), authorizing the

Debtors to retain and appoint Stretto, Inc. (“Stretto”) as claims and noticing agent

(“Claims and Noticing Agent”) pursuant to 28 U.S.C. § 156(c), section 105(a) of the Bankruptcy

Code, and Local Rule 2002-1(f) to, among other things, (a) distribute required notices to parties in

interest, (b) receive, maintain, docket, and otherwise administer the proofs of claim filed in the

Debtors’ chapter 11 cases and (c) provide such other administrative services, all as more fully set

forth in the Application; and upon the First Day Declaration; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012, and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2),

and this Court having authority to enter a final order consistent with Article III of the United States



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate Holdings
      LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress Ave.,
      Palm Springs, FL, 33406.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.



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Constitution; and this Court having found that venue of this proceeding and the Application in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Application is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Debtors’ notice of the Application

and opportunity for a hearing on the Application were appropriate under the circumstances and no

other notice need be provided; and this Court having reviewed the Application and having heard

the statements in support of the relief requested therein at a hearing before this Court

(the “Hearing”); and this Court having determined that the legal and factual bases set forth in the

Application and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.       Notwithstanding the terms of the Engagement Agreement attached hereto as

Exhibit 1, the Application is approved solely as set forth in this Order.

        2.       The Debtors are authorized to retain Stretto as Claims and Noticing Agent effective

as of the Petition Date under the terms of the Engagement Agreement, and Stretto is authorized

and directed to perform noticing services and to receive, maintain, record, and otherwise

administer the proofs of claim filed in these chapter 11 cases (if any), and all related tasks, all as

described in the Application.

        3.       Stretto shall serve as the custodian of court records and shall be designated as the

authorized repository for all proofs of claim filed in these chapter 11 cases (if any) and is

authorized and directed to maintain official claims registers for each of the Debtors, to provide

public access to every proof of claim unless otherwise ordered by the Court, and to provide the

Clerk with a certified duplicate thereof upon the request of the Clerk.



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        4.       Stretto is authorized and directed to provide an electronic interface for filing proofs

of claim and to obtain a post office box or address for the receipt of proofs of claim.

        5.       Stretto is authorized to take such other action to comply with all duties set forth in

the Application.

        6.       The Debtors are authorized to compensate Stretto in accordance with the terms of

the Engagement Agreement upon the receipt of reasonably detailed invoices setting forth the

services provided by Stretto and the rates charged for each, and to reimburse Stretto for all

reasonable and necessary expenses it may incur, upon the presentation of appropriate

documentation, without the need for Stretto to file fee applications or otherwise seek Court

approval for the compensation of its services and reimbursement of its expenses.

        7.       Stretto shall maintain records of all services showing dates, categories of services,

fees charged, and expenses incurred. With respect to services provided prior to the effective date

of a chapter 11 plan in these chapter 11 cases, Stretto shall serve monthly invoices on the Debtors,

the United States Trustee, counsel for the Debtors, counsel for any official committee monitoring

the expenses of the Debtors, and any party-in-interest who specifically requests service of the

monthly invoices.

        8.       The parties shall meet and confer in an attempt to resolve any dispute which may

arise relating to the Engagement Agreement or monthly invoices; provided that the parties may

seek resolution of the matter from the Court if resolution is not achieved.

        9.       Pursuant to section 503(b)(1)(A) of the Bankruptcy Code, the fees and expenses of

Stretto under this Order shall be an administrative expense of the Debtors’ estates.

        10.      Stretto may apply its advance to all prepetition invoices, which advance shall be

replenished to the original advance amount, and, thereafter, Stretto may hold its advance under the



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Engagement Agreement during the chapter 11 cases as security for the payment of fees and

expenses incurred under the Engagement Agreement.

        11.      The Debtors shall indemnify Stretto under the terms of the Engagement Agreement,

as modified pursuant to this Order.

        12.      Stretto shall not be entitled to indemnification, contribution, or reimbursement

pursuant to the Engagement Agreement for services other than the services provided under the

Engagement Agreement, unless such services and the indemnification, contribution, or

reimbursement therefor are approved by the Court.

        13.      Notwithstanding anything to the contrary in the Engagement Agreement, the

Debtors shall have no obligation to indemnify Stretto, or provide contribution or reimbursement

to Stretto, for any claim or expense that is either: (a) judicially determined (the determination

having become final) to have arisen from Stretto’s gross negligence, willful misconduct, or fraud;

(b) for a contractual dispute in which the Debtors allege the breach of Stretto’s contractual

obligations if the Court determines that indemnification, contribution, or reimbursement would not

be permissible pursuant to applicable law; or (c) settled prior to a judicial determination under

(a) or (b), but determined by this Court, after notice and a hearing, to be a claim or expense for

which Stretto should not receive indemnity, contribution, or reimbursement under the terms of the

Engagement Agreement as modified by this Order.

        14.      If, before the earlier of (a) the entry of an order confirming a chapter 11 plan in

these chapter 11 cases (that order having become a final order no longer subject to appeal), or

(b) the entry of an order closing these chapter 11 cases, Stretto believes that it is entitled to the

payment of any amounts by the Debtors on account of the Debtors’ indemnification, contribution,

and/or reimbursement obligations under the Engagement Agreement (as modified by this Order),



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including the advancement of defense costs, Stretto must file an application therefore in this Court,

and the Debtors may not pay any such amounts to Stretto before the entry of an order by this Court

approving the payment. This paragraph is intended only to specify the period of time under which

the Court shall have jurisdiction over any request for fees and expenses by Stretto for

indemnification, contribution, or reimbursement, and not a provision limiting the duration of the

Debtors’ obligation to indemnify Stretto. All parties in interest shall retain the right to object to

any demand by Stretto for indemnification, contribution, or reimbursement.

        15.      The limitation of liability section in paragraph 10 of the Engagement Agreement is

deemed to be of no force or effect with respect to the services to be provided pursuant to this Order.

        16.      In the event Stretto is unable to provide the services set out in this Order, Stretto

will immediately notify the Clerk and the Debtors’ counsel and, upon approval of the Court, cause

to have all original proofs of claim and computer information turned over to another claims and

noticing agent with the advice and consent of the Clerk and the Debtors’ counsel.

        17.      The Debtors may submit a separate retention application, pursuant to 11 U.S.C.

§ 327 and/or any applicable law, for work that is to be performed by Stretto but is not specifically

authorized by this Order.

        18.      The Debtors and Stretto are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.

        19.      Notwithstanding any term in the Engagement Agreement to the contrary (including

with regard to paragraph 15 of the Engagement Agreement), the Court retains jurisdiction with

respect to all matters arising from or related to the implementation of this Order.




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        20.      Notice of the Application as provided therein shall be deemed good and sufficient

notice of such Application and the requirements of Bankruptcy Rule 6004(a) and the Local Rules

are satisfied by such notice.

        21.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        22.      Stretto shall not cease providing claims processing services during the chapter 11

case(s) for any reason, including nonpayment, without an order of the Court.

        23.      In the event of any inconsistency between the Engagement Agreement, the

Application and the Order, the Order shall govern.

        24.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Application.

        25.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                                   Exhibit 1

                             Engagement Agreement




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            Services Agreement
            This Services Agreement (this “Agreement”) is entered into as of September 1, 2023 between
            Stretto, Inc. (“Stretto”) and Off Lease Only LLC (together with its affiliates and subsidiaries, the
            “Company”).1

            In consideration of the promises set forth herein and other good and valuable consideration, the
            receipt and sufficiency of which are hereby acknowledged, the parties hereto agree as follows:

            1. Services
                 (a) Stretto agrees to provide the Company with consulting services regarding (i) legal noticing,
                     maintenance of claims registers, creditor mailing matrices, an electronic platform for filing
                     proofs of claim, plan solicitation, balloting, tabulation of votes, disbursements, and
                     administrative support in preparation of schedules of assets and liabilities and statements of
                     financial affairs (“Claims Administration, Noticing, and Solicitation Services”); and (ii) crisis
                     communications, claims analysis and reconciliation, preference analysis and recovery,
                     contract review and analysis, case research, public securities, depository management,
                     treasury services, confidential online workspaces or data rooms (publication to which shall
                     not violate the confidentiality provisions of this Agreement), and any other services agreed
                     upon by the parties or otherwise required by applicable law, governmental regulations, or
                     court rules or orders (all such services collectively, the “Services”).
                 (b) The Company acknowledges and agrees that Stretto will often take direction from the
                     Company's representatives, employees, agents, and/or professionals (collectively, the
                     “Company Parties”) with respect to providing Services hereunder. The parties agree that
                     Stretto may rely upon, and the Company agrees to be bound by, any requests, advice, or
                     information provided by the Company Parties to the same extent as if such requests, advice,
                     or information were provided by the Company.
                 (c) The Company agrees and understands that Stretto shall not provide the Company or any
                     other party with legal advice.

            2. Rates, Expenses and Payment
                 (a) Stretto will provide the Services on an as-needed basis and upon request or agreement of
                     the Company. Stretto’s charges for Services through the effective date of a chapter 11 plan
                     shall be at the rates attached hereto (the “Preferred Rate Structure”). The Company agrees
                     that the Preferred Rate Structure shall not be applicable to Services provided to the entity or
                     entities (including the Company) responsible for implementing a confirmed and effective
                     chapter 11 plan and that such Services will be provided at Stretto’s then prevailing rates.
                     The Company agrees to pay for reasonable out of pocket expenses incurred by Stretto in
                     connection with providing Services hereunder.
                 (b) Stretto will bill the Company no less frequently than monthly. All invoices shall be due and
                     payable upon receipt. Where an expense or group of expenses to be incurred is expected to
                     exceed $10,000 (e.g., publication notice), Stretto may require advance or direct payment
                     from the Company before the performance of Services hereunder. If any amount is unpaid

            1
                      The Company shall include, to the extent applicable, the Company, as debtor and debtor in
            possession in any chapter 11 case, together with any affiliated debtors and debtors in possession whose
            chapter 11 cases are jointly administered with the Company's chapter 11 case. Each affiliated entity shall be
            jointly and severally liable for the Company’s fees and expenses.


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                     as of 30 days after delivery of an invoice, the Company agrees to pay a late charge equal to
                     1.5% of the total amount unpaid every 30 days.
                 (c) In the case of a dispute with respect to an invoice amount, the Company shall provide a
                     detailed written notice of such dispute to Stretto within 10 days of receipt of the invoice.
                 (d) The undisputed portion of the invoice will remain due and payable immediately upon
                     receipt thereof. Late charges shall not accrue on any amounts disputed in good faith.
                 (e) The Company shall pay any fees and expenses for Services relating to, arising out of, or
                     resulting from any error or omission made by the Company or the Company Parties.
                 (f) The Company shall pay or reimburse any taxes that are applicable to Services performed
                     hereunder or that are measured by payments made hereunder and are required to be
                     collected by Stretto or paid by Stretto to a taxing authority.
                 (g) Upon execution of this Agreement, the Company shall pay Stretto an advance of
                     $25,000.00. Stretto may use such advance against unpaid fees and expenses hereunder.
                     Stretto may use the advance against all prepetition fees and expenses. Company shall upon
                     Stretto’s request, which request may take the form of an invoice, replenish the advance to
                     the original advance amount. Stretto may also, at its option hold such advance to apply
                     against unpaid fees and expenses hereunder.
                 (h) Stretto reserves the right to make reasonable increases to the Preferred Rate Structure on a
                     periodic basis. If any such increase represents an increase greater than 10% from the
                     previously effective level, Stretto shall provide 30 days' notice to the Company of such
                     increase.
                 (i) Payments to Stretto under the terms of this Agreement for services rendered, may be
                     remitted by Company using either (or both) of the following methods:

                             Wire Transmission
                             Bank Name – Pacific Western Bank
                             Bank Address – 110 West A Street, Suite 100, San Diego, CA 92101
                             ABA – 122238200
                             Account Number – 1000681781
                             Account Name – Stretto

                             Check
                             Stretto
                             Attn: Accounts Receivable
                             410 Exchange, Suite 100
                             Irvine, CA 92602

            3. Retention in Bankruptcy Case
                 (a) If the Company commences a case pursuant to title 11 of the United States Code (the
                     “Bankruptcy Code”), the Company promptly shall file any necessary application with the
                     Bankruptcy Court to retain Stretto to provide the Services. The form and substance of such
                     applications and any order approving them shall be reasonably acceptable to Stretto.
                 (b) If the Company seeks authorization in a chapter 11 case to obtain postpetition financing,
                     including debtor-in-possession loans or use of cash collateral, the Company shall include
                     Stretto’s fees and expenses incurred hereunder in any professional compensation carve-out.
                 (c) If any Company chapter 11 case converts to a case under chapter 7 of the Bankruptcy Code,
                     Stretto will continue to be paid for Services pursuant to 28 U.S.C. § 156(c) and the terms
                     hereunder.



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            4. Confidentiality
                 (a) The Company and Stretto agree to keep confidential all non-public records, systems,
                     procedures, software, and other information received from the other party in connection
                     with the Services provided hereunder; provided, however, that if any such information was
                     publicly available, already in the receiving party's possession or known to it, independently
                     developed by the receiving party, lawfully obtained by the receiving party from a third party,
                     or required to be disclosed by law, then the receiving party shall bear no responsibility for
                     publicly disclosing such information.
                 (b) If either party reasonably believes that it is required to disclose any confidential information
                     pursuant to an order from a governmental authority, (i) such party shall provide written
                     notice to the other party promptly after receiving such order, to allow the other party
                     sufficient time, if possible, to seek any remedy available under applicable law to prevent
                     disclosure of the information; and (ii) such party will limit such disclosure to the extent the
                     such party’s counsel in good faith determines such disclosure can be limited.

            5. Property Rights
            Stretto reserves to itself and its agents all property rights in and to all materials, concepts, creations,
            inventions, works of authorship, improvements, designs, innovations, ideas, discoveries, know-how,
            techniques, programs, systems, specifications, applications, processes, routines, manuals,
            documentation, and any other information or property (collectively, “Property”) furnished by
            Stretto for itself or for use by the Company hereunder. The foregoing definition of Property shall
            include any and all data, from any source, downloaded, stored, and maintained by Stretto’s
            technology infrastructure. Fees and expenses paid by the Company do not vest in the Company any
            rights in such Property. Such Property is only being made available for the Company's use during and
            in connection with the Services provided by Stretto hereunder.

            6. Bank Accounts
            At the request of the Company or the Company Parties, Stretto shall be authorized to establish
            accounts with financial institutions in the name of and as agent for the Company to facilitate
            distributions pursuant to a chapter 11 plan or other transaction. To the extent that certain financial
            products are provided to the Company pursuant to Stretto's agreement with financial institutions,
            Stretto may receive compensation from such institutions for the services Stretto provides pursuant
            to such agreement.

            7. Term and Termination
                 (a) This Agreement shall remain in effect until terminated by either party: (i) on 30 days' prior
                     written notice to other party; or (ii) immediately upon written notice for Cause (as defined
                     herein). “Cause” means (i) gross negligence or willful misconduct of Stretto that causes
                     material harm to the Company's restructuring under chapter 11 of the Bankruptcy Code,
                     (ii) the failure of the Company to pay Stretto invoices for more than 60 days from the date
                     of invoice or (iii) the accrual of invoices or unpaid Services in excess of the advance held by
                     Stretto where Stretto reasonably believes it likely will not be paid.
                 (b) If this Agreement is terminated after Stretto is retained pursuant to Bankruptcy Court order,
                     the Company promptly shall seek entry of a Bankruptcy Court order discharging Stretto of
                     its duties under such retention, which order shall be in form and substance reasonably
                     acceptable to Stretto.
                 (c) If this Agreement is terminated, the Company shall remain liable for all amounts then
                     accrued and/or due and owing to Stretto hereunder.

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                 (d) If this Agreement is terminated, Stretto shall coordinate with the Company and, to the
                     extent applicable, the clerk of the Bankruptcy Court, to maintain an orderly transfer of
                     record keeping functions, and Stretto shall provide the necessary staff, services, and
                     assistance required for such an orderly transfer. The Company agrees to pay for such
                     Services pursuant to the Preferred Rate Structure.

            8. No Representations or Warranties
            Stretto makes no representations or warranties, express or implied, regarding the services and
            products sold or licensed to the Company hereunder or otherwise with respect to this Agreement,
            including, without limitation, any express or implied warranty of merchantability, fitness or
            adequacy for a particular purpose or use, quality, productiveness, or capacity. Notwithstanding the
            foregoing, if the above disclaimer is not enforceable under applicable law, such disclaimer will be
            construed by limiting it so as to be enforceable to the extent compatible with applicable law.

            9. Indemnification
                 (a) To the fullest extent permitted by applicable law, the Company shall indemnify and hold
                     harmless Stretto and its members, directors, officers, employees, representatives, affiliates,
                     consultants, subcontractors, and agents (collectively, the “Indemnified Parties”) from and
                     against any and all losses, claims, damages, judgments, liabilities, and expenses, whether
                     direct or indirect (including, without limitation, counsel fees and expenses) (collectively,
                     “Losses”) resulting from, arising out of, or related to Stretto's performance hereunder.
                     Without limiting the generality of the foregoing, Losses include any liabilities resulting from
                     claims by any third parties against any Indemnified Party.
                 (b) Stretto and the Company shall notify each other in writing promptly upon the assertion,
                     threat or commencement of any claim, action, investigation, or proceeding that either party
                     becomes aware of with respect to the Services provided hereunder.
                 (c) The Company’s indemnification of Stretto hereunder shall exclude Losses resulting from
                     Stretto's gross negligence or willful misconduct.
                 (d) The Company's indemnification obligations hereunder shall survive the termination of this
                     Agreement.

            10. Limitations of Liability
            Except as expressly provided herein, Stretto's liability to the Company for any Losses, unless due to
            Stretto's gross negligence or willful misconduct, shall be limited to the total amount paid by the
            Company to Stretto for the portion of the particular work that gave rise to the alleged Loss. In no
            event shall Stretto be liable for any indirect, special, or consequential damages (such as loss of
            anticipated profits or other economic loss) in connection with or arising out of the Services provided
            hereunder.

            11. Company Data
                 (a) The Company is responsible for, and Stretto does not verify, the accuracy of the programs,
                     data and other information it or any Company Party submits for processing to Stretto and
                     for the output of such information, including, without limitation, with respect to preparation
                     of statements of financial affairs and schedules of assets and liabilities (collectively, “SOFAs
                     and Schedules”). Stretto bears no responsibility for the accuracy and content of SOFAs and
                     Schedules, and the Company is deemed hereunder to have approved and reviewed all
                     SOFAs and Schedules filed on its behalf.


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                 (b) The Company agrees, represents, and warrants to Stretto that before delivery of any
                     information to Stretto: (i) the Company has full authority to deliver such information to
                     Stretto; and (ii) Stretto is authorized to use such information to perform Services hereunder
                     and as otherwise set forth in this Agreement.
                 (c) Any data, storage media, programs or other materials furnished to Stretto by the Company
                     may be retained by Stretto until the Services provided hereunder are paid in full. The
                     Company shall remain liable for all fees and expenses incurred by Stretto under this
                     Agreement as a result of data, storage media or other materials maintained, stored, or
                     disposed of by Stretto. Any such disposal shall be in a manner requested by or acceptable to
                     the Company; provided that if the Company has not utilized Stretto's Services for a period of
                     90 days or more, Stretto may dispose of any such materials in a manner to be determined in
                     Stretto’s sole reasonable discretion, and be reimbursed by the Company for the expense of
                     such disposition, after giving the Company 30 days' notice. The Company agrees to initiate
                     and maintain backup files that would allow the Company to regenerate or duplicate all
                     programs, data, or information provided by the Company to Stretto.
                 (d) Stretto and the Company agree that this Agreement is subject to the terms set forth in the
                     GDPR Addendum attached hereto as Exhibit A, which are incorporated herein by reference.
                 (e) Notwithstanding the foregoing, if Stretto is retained pursuant to Bankruptcy Court order,
                     disposal of any Company data, storage media, or other materials shall comply with any
                     applicable court orders and rules or clerk's office instructions.

            12. California Consumer Privacy Act.
                 (a) Definitions. In this Section,
                     (i) “CCPA” means the California Consumer Privacy Act of 2018, including amendments and
                           final regulations;
                     (ii) “Personal Information” has the same meaning given to such term under section
                           1798.140 of the CCPA and is limited to any Company data provided to Stretto by the
                           Company in order for Stretto to provide Services under this Agreement; and
                     (iii) “Commercial Purposes,” “Sell,” “Business,” and “Service Provider” have the same
                           meanings assigned to them in section 1798.140 of the CCPA.
                 (b) Relationship Between the Parties. To the extent the Company is considered a Business
                     under California law, and subject to the terms of this Section 12, Stretto will act solely as
                     Company’s Service Provider with respect to Personal Information.
                 (c) Restrictions. Stretto certifies it will not: (i) Sell Personal Information or (ii) collect, retain,
                     use, or disclose Personal Information for any purpose other than for the specific purpose of
                     performing the Services specified in this Agreement, including collecting, retaining, using, or
                     disclosing Personal Information for any Commercial Purpose other than providing the
                     Services specified in this Agreement unless otherwise permitted under the CCPA.

            13. Non-Solicitation
            The Company agrees that neither it nor any of its subsidiaries or affiliates shall directly or indirectly
            solicit for employment, employ, or otherwise retain as employees, consultants, or otherwise, any
            employees of Stretto during the term of this Agreement and for a period of 12 months after
            termination thereof unless Stretto provides prior written consent to such solicitation or retention.

            14. Force Majeure
            Whenever performance by Stretto of any of its obligations hereunder is materially prevented or
            impacted by reason of any act of God, government requirement, strike, lock-out or other industrial


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            or transportation disturbance, fire, flood, epidemic, lack of materials, law, regulation or ordinance,
            act of terrorism, war or war condition, or by reason of any other matter beyond Stretto's reasonable
            control, then such performance shall be excused.

            15. Choice of Law
            The validity, enforceability, and performance of this Agreement shall be governed by and construed
            in accordance with the laws of the State of New York.

            16. Arbitration
            Any dispute arising out of or relating to this Agreement or the breach thereof shall be finally
            resolved by arbitration administered by the American Arbitration Association under its Commercial
            Arbitration Rules, and judgment upon the award rendered by the arbitrators may be entered in any
            court having jurisdiction. There shall be three arbitrators named in accordance with such rules. The
            arbitration shall be conducted in the English language in Irvine, California in accordance with the
            United States Arbitration Act. Notwithstanding the foregoing, upon commencement of any chapter
            11 case(s) by the Company, any disputes related to this Agreement shall be decided by the
            bankruptcy court assigned to such chapter 11 case(s).

            17. Integration: Severability; Modifications: Assignment
                 (a) Each party acknowledges that it has read this Agreement, understands it, and agrees to be
                     bound by its terms, and further agrees that it is the complete and exclusive statement of the
                     agreement between the parties, which supersedes and merges all prior proposals,
                     understandings, agreements, and communications between the parties relating to the
                     subject matter hereof.
                 (b) If any provision of this Agreement shall be held to be invalid, illegal, or unenforceable, the
                     validity, legality, and enforceability of the remaining provisions shall in no way be affected
                     or impaired thereby.
                 (c) This Agreement may be modified only by a writing duly executed by an authorized
                     representative of the Company and an officer of Stretto.
                 (d) This Agreement and the rights and duties hereunder shall not be assignable by the parties
                     hereto except upon written consent of the other; provided, however, that Stretto may
                     assign this Agreement to a wholly-owned subsidiary or affiliate without the Company's
                     consent.

            18. Effectiveness of Counterparts
            This Agreement may be executed in two or more counterparts, each of which will be deemed an
            original, but all of which shall constitute one and the same agreement. This Agreement will become
            effective when one or more counterparts have been signed by each of the parties and delivered to
            the other party, which delivery may be made by exchange of copies of the signature page by fax or
            email.




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            19. Notices
            All notices and requests in connection with this Agreement shall be sufficiently given or made if
            given or made in writing via hand delivery, overnight courier, U.S. Mail (postage prepaid) or email,
            and addressed as follows:

            If to Stretto:            Stretto
                                      410 Exchange, Ste. 100
                                      Irvine, CA 92602
                                      Attn: Sheryl Betance
                                      Tel: 714.716.1872
                                      Email: sheryl.betance@stretto.com

            If to the Company:        Off Lease Only LLC
                                      1200 S. Congress Ave.
                                      Palm Springs, FL 33406
                                      561-222-2277
                                      Email” Legal@offleaseonly.com

            With a copy to:           Proskauer
                                      Eleven Times Square
                                      New York, NY 10036-8299
                                      212.969.3380
                                      Email: brosen@proskauer.com


            IN WITNESS WHEREOF, the parties hereto have executed this Agreement effective as of the date first
            above written.


            Stretto

            _____________________________________________
            By: Sheryl Betance

            Title: Senior Managing Director



            Off Lease Only LLC

            _____________________________________________
            By: Lee Wilson

            Title: CEO




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                                                             Exhibit A
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                                                       GDPR Addendum

                     This GDPR Addendum is a part of the Services Agreement (the “Agreement”) by and between
            Stretto (the “Processor”)2 and the Company (together, the “Parties”).

                                                             RECITALS
            WHEREAS,

                     (A)     The Processor and the Company have agreed to the following terms regarding the
                             Processing of Company Personal Data.

                     (B)     The Company acts as a Controller of the Company Personal Data.

                     (C)     The Company wishes to subcontract certain Services, pursuant to the Agreement,
                             which imply and require the processing of personal data, to the Processor.

                     (D)     The Company instructs the Processor to process Company Personal Data.

                     (E)     The Parties seek to implement a data processing agreement that complies with the
                             requirements of the current legal framework in relation to data processing and with
                             the Regulation (EU) 2016/679 of the European Parliament and of the Council of 27
                             April 2016 on the protection of natural persons with regard to the processing of
                             personal data and on the free movement of such data, and repealing Directive
                             95/46/EC (General Data Protection Regulation or “GDPR”).

            NOW THEREFORE, the Company and the Processor agree as follows:

            1.       Definitions. The parties agree that the following terms, when used in this GDPR Addendum,
                     shall have the following meanings.

                     (a)     “Addendum” shall mean this GDPR Addendum;

                     (b)     “Company Personal Data” means any Personal Data Processed by the Processor or a
                             Subprocessor on behalf of the Company pursuant to or in connection with the
                             Agreement, and may include, for example, Personal Data of Company’s employees,
                             clients, customers, creditors, equity interest holders, or counter-parties;

                     (c)     “Data Protection Laws” means EU Directive 95/46/EC, as transposed into domestic
                             legislation of each Member State and as amended, replaced or superseded from time
                             to time, including by the GDPR and laws implementing or supplementing the GDPR;

                     (d)     “Services” means the services the Processor provides to the Company pursuant to
                             the Agreement;

                     (e)     “Subprocessor” means any person appointed by or on behalf the Processor to process
                             Personal Data on behalf of the Company in connection with the Agreement;



            2
              Capitalized terms utilized but not defined in the GDPR Addendum have the meanings ascribed to
            them in the Agreement.
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                     (f)     “Technical and organizational security measures” means those measures aimed at
                             protecting Personal Data against accidental or unlawful destruction or accidental loss,
                             alteration, unauthorized disclosure or access, in particular where the processing
                             involves the transmission of data over a network, and against all other unlawful forms
                             of processing;

                     (g)     The terms “Commission”, “Controller”, “Data Subject”, “Member State”, “Personal
                             Data”, “Personal Data Breach”, “Processor”, “Processing”, “Special Categories of
                             Personal Data”, and “Supervisory Authority” shall have the same meaning as in the
                             GDPR, and their derivative terms shall be construed accordingly.

            2.       Obligations of the Company. The Company agrees and warrants:

                     (a)     that the Processing, including the transfer itself, of the Company Personal Data has
                             been and will continue to be carried out in accordance with the relevant provisions
                             of the applicable Data Protection Laws (and, where applicable, has been notified to
                             the relevant authorities of the Member State);

                     (b)     that it has instructed and throughout the duration of the Services will instruct the
                             Processor to process the Company Personal Data transferred only on the Company’s
                             behalf and in accordance with the applicable Data Protection Laws, the Agreement,
                             and this Addendum;

                     (c)     that the Processor will provide sufficient guarantees in respect of the technical and
                             organizational security measures;

                     (d)     that after assessment of the requirements of the applicable data protection law, the
                             technical and organizational security measures are appropriate to protect the
                             Company Personal Data against accidental or unlawful destruction or accidental loss,
                             alteration, unauthorized disclosure or access, in particular where the processing
                             involves the transmission of data over a network, and against all other unlawful forms
                             of processing, and that these measures ensure a level of security appropriate to the
                             risks presented by the processing and the nature of the data to be protected having
                             regard to the state of the art and the cost of their implementation;

                     (e)     that it will ensure compliance with the technical and organizational security
                             measures; and

                     (f)     that the Company Personal Data transferred to Processor does not include or involve
                             any special categories of data, as defined by Article 9 of the GDPR.

            3.       Obligations of the Processor. The Processor agrees and warrants:

                     (a)     to comply with the Data Protection Laws;

                     (b)     to process the Company Personal Data only on behalf of the Company and in
                             compliance with its instructions and this Addendum; if it cannot provide such
                             compliance for whatever reasons, it agrees to inform promptly the Company of its
                             inability to comply, in which case the Company is entitled to suspend the processing
                             of data and/or terminate the Agreement;


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                     (c)      that it has no reason to believe that the legislation applicable to it prevents it from
                              fulfilling the instructions received from the Company and its obligations under the
                              Agreement and that in the event of a change in this legislation which is likely to have
                              a substantial adverse effect on the warranties and obligations provided by the
                              Clauses, it will promptly notify the change to the Company as soon as it is aware, in
                              which case the Company is entitled to suspend the transfer of data and/or terminate
                              the Agreement;

                     (d)      that it has implemented reasonable and appropriate technical and organizational
                              security measures before processing the Company Personal Data;

                     (e)      that it will promptly notify the Company about:

                            i.        any legally binding request for disclosure of the Company Personal Data by a
                                      law enforcement authority unless otherwise prohibited, such as a prohibition
                                      under criminal law to preserve the confidentiality of a law enforcement
                                      investigation;

                           ii.        any accidental or unauthorized access; and

                           iii.       any request received directly from any data subject without responding to
                                      that request, unless it has been otherwise authorized to do so by the
                                      Company or as required by any applicable law;

                     (f)      to deal promptly and properly with all inquiries from the Company relating to its
                              Processing of the Company Personal Data and to abide by the advice of the
                              supervisory authority with regard to the processing of the Company Personal Data;

                     (g)      to take reasonable steps to ensure the reliability of any employee, agent, or
                              contractor of any Subprocessor who may have access to the Company Personal Data,
                              ensuring in each case that access is strictly limited to those individuals who need to
                              know or access the relevant Company Personal Data, as strictly necessary to perform
                              the Services under the Agreement, and to comply with Data Protection Laws in the
                              context of that individual’s duties to the Subprocessor, ensuring that all such
                              individuals are subject to confidentiality undertakings or professional or statutory
                              obligations of confidentiality; and

                     (h)      that it shall not use (or disclose any Company Personal Data to) any Subprocessor
                              unless required or authorized by the Company with prior written consent.

            4.       Obligations after Termination of Personal Data Processing Services.

                     (a)      The Parties agree that within 10 business days of the termination of the Agreement
                              or provision of Services, the Processor and any Subprocessor shall, at the choice of
                              the Company, return all Company Personal Data and the copies thereof to the
                              Company or shall destroy all the Company Personal Data and certify to the Company
                              that it has done so, unless legislation imposed upon the Processor prevents it from
                              returning or destroying all or part of the Company Personal Data. In that case, the
                              Processor warrants that it will guarantee the confidentiality of the Company Personal
                              Data and will not further process the Company Personal Data.


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                     (b)     The Processor and any Subprocessor warrant that upon request of the Company
                             and/or of the supervisory authority, it will submit its data-processing facilities for an
                             audit of the technical and organizational security measures.

            5.       Notices. All notices and communications given under this Addendum must be delivered as
                     provided for by the Agreement.




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